Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 1 of 18




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Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 2 of 18
Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 3 of 18
Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 4 of 18
Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 5 of 18
Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 6 of 18
Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 7 of 18
Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 8 of 18
Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 9 of 18




                                                           DATE FILED: April 9, 2014 6:03 PM
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Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 10 of
                                      18
Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 11 of
                                      18




                                                          DATE FILED: April 9, 2014 6:03 PM
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                                                          CASE NUMBER: 2014C 30068
Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 12 of
                                      18
Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 13 of
                                      18




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                                                          CASE NUMBER: 2014C 30068
Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 14 of
                                      18
Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 15 of
                                      18
Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 16 of
                                      18




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                                                         CASE NUMBER: 2014C 30068




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Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 17 of
                                      18
Case 1:13-cv-03309-REB-KMT Document 90-6 Filed 10/06/14 USDC Colorado Page 18 of
                                      18
